Case 2:11-cr-20066-RHC-EAS ECF No. 134, PageID.403 Filed 01/28/13 Page 1 of 2




                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,

v.                                                    Case No. 11-20129
                                                               11-20066

D-10 VERNON NELSON RICH, et al.,

               Defendants.
                                                /

                            ORDER FOR SUPPLEMENTAL BRIEFING

      Before the court is a request for oral argument, filed by Defendant Vernon Rich,

in which he asks the court to schedule his “Motion for Revocation of Order of Detention”

for oral argument. The motion states that “[c]ounsel would like to be able to address

key points that have been sworn to by the Government personnel, which the Court may

deem relevant to the determination it needs to make on whether Mr. Rich should

continue to be detained.” (Request at 3.) The court invites the further information

Defendant seeks to present, but at this point no need for in-court argument is identified.

Accordingly,

      IT IS ORDERED that, by January 30, 2013, Defendant Rich is DIRECTED to

supplement his most recent brief in support of oral argument with a filing, under seal,

that provides additional details and whatever the specifics may be of the key points

highlighted in his pending motion.

      The Government is DIRECTED to file its response, also under seal, by February

4, 2013.
Case 2:11-cr-20066-RHC-EAS ECF No. 134, PageID.404 Filed 01/28/13 Page 2 of 2




           Should the court decide to call for oral argument, the hearing will occur on

February 7, 2013 at 4:00 p.m. Counsel shall receive notification by the close of

business on February 6, 2013 as to the decision on oral argument.


                                                                   s/Robert H. Cleland
                                                                   ROBERT H. CLELAND
                                                                   UNITED STATES DISTRICT JUDGE

Dated: January 28, 2013

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, January 28, 2013, by electronic and/or ordinary mail.

                                                                   s/Lisa Wagner
                                                                   Case Manager and Deputy Clerk
                                                                   (313) 234-5522




S:\Cleland\JUDGE'S DESK\C3 ORDERS\11-20129.RICH.OralArgument.chd.RHC.wpd



                                                                       2
